                    Case 1:18-cr-00410-LMB Document 4 Filed 08/22/18 Page 1 of 2 PageID# 25
Criminal Case Cover Sheet                                                                                                       U,S. District Court
                                                       FILED: REDACTED


Place of Offense:                       ^ Under Seal                                                 Judge Assigned:

City:       Alexandria                  Superseding Indictment:                                      Criminal No.             1:18-mj-


County:                                 Same Defendant:                                              New Defendant:


                                        Magistrate Judge Case No                                     Arraignment Date:

                                        Search Warrant Case No.                                      R.20/R.40From:

Defendant information:


Defendant Name: Seitu Sulayman           Kokayi                  Alias(es):                          □ Juvenile FBI No.

Address:                 Alexa ndria, VA 22310


Employment:

Birth Date: 1 989                SSN:                         Sex:      Male          Race:                     Nationality:

Place of Birth:                       Height:   57"    Weight:   165           Hair: brown    Eyes: brown       Scars/Tattoos:


Q Interpreter Language/Dialect:                                                     Auto Description:

Location/Status:


Arrest Date:                              □ Already in Federal Custody as of:                                       in:



□ Already in State Custody                □ On Pretrial Release                 □ Not in Custody

^ Arrest Warrant Requested                □ Fugitive                            □ Summons Requested

□ Arrest Warrant Pending                  □ Detention Sought                    □ Bond
Defense Counsel Information:


Name:                                                                  □ Court Appointed       Counsel Conflicts:

Address:                                                               □ Retained

Phone:                                                                 □ Public Defender                            □ Federal Public Conflicted Out
U.S. Attorney Information;

AUSA(s): Kellen Dwyer                                                            Phone: (703) 299-3707              Bar No.

Complainant Agency - Address & Phone No. or Person & Title:

 Special Agent, Sean Clark, FBI
U.S.C. Citations:         Code/Section                   Offense Charoed                           Countfsl               Capital/Felony/Misd./Petty

   Setl:            1 8 use 2422(b)              Soliciting a Child                                                                  Felony

   Set 2:


  Date:                                         AUSA Signature:                                                            may be continued on reverse
               Case 1:18-cr-00410-LMB Document 4 Filed 08/22/18 Page 2 of 2 PageID# 26
 District Court Case Number(to be filled by deputy clerk):
U.S.C.Citations:   Code/Section               Offense Charged       Count(s)   Capital/Felony/Misd./Petty

  Set 3:


  Set 4:


  Set 5:


  Set 6:


  Set 7:


  Set 8:


  Set 9:


  Set 10:


  Set 11:


  Set 12:


  Set 13:


  Set 14:


  Set 15:


  Set 16:


  Set 17:


  Set 18:


  Set 19:


  Set 20:


  Set 21:


  Set 22:


  Set 23:


  Set 24:


  Set 25:




                                        PrintFbrm               Res^Fdrtn
